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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

    UNITED STATES COMMODITY FUTURES                    )
    TRADING COMMISSION,                                )
                                                       )
                       Plaintiff,                      )
                                                       )
         v.                                            )   Case No. 1:12-cv-07127
                                                       )
    NIKOLAI SIMON BATTOO; BC CAPITAL                   )   Hon. Edmond E. Chang
    GROUP S.A.; BC CAPITAL GROUP                       )
    INTERNATIONAL LIMITED a/k/a BC CAPITAL             )
    GROUP LIMITED a/k/a BC CAPITAL GROUP               )
    GLOBAL; AND BC CAPITAL GROUP                       )
    HOLDINGS S.A.,                                     )
                                                       )
                               Defendants.             )

                     RECEIVER’S MOTION TO APPROVE PLAN OF
              DISTRIBUTION AND TREATMENT OF CLAIMS (CORRECTED)1

        Robb Evans & Associates LLC (the “Receiver”), the Court-appointed receiver of

Defendants Nikolai Simon Battoo (“Battoo”) and the BC Common Enterprise2 (collectively with

Battoo, the “Defendants”) hereby moves for an order approving the Receiver’s plan to distribute

receivership assets to claimants and approving on a final basis the Receiver’s proposed treatment

of claims (the “Distribution Motion”). In further support of its Distribution Motion, the Receiver

states as follows:




1
  The Receiver is filing this corrected motion to update claims information in Schedule B and will
distribute notice of this Distribution Motion to claimants in accordance with the Court’s order
dated 9/12/2018 [Dkt. # 625].
2
  As defined in the Preliminary Injunction, the “BC Common Enterprise” consists of BC Capital
Group S.A., BC Capital Group International Limited a/k/a BC Capital Group Limited a/k/a BC
Capital Group Global, and BC Capital Group Holdings S.A.
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                                          BACKGROUND

I.       THE COURT APPOINTED THE RECEIVER TO MARSHALL INVESTOR ASSETS UNDER THE
         DEFENDANTS’ CONTROL.

         In September 2012, the United States Commodity Futures Trading Commission

(“CFTC”) initiated this action against Nikolai Battoo and the BC Common Enterprise alleging

multiple violations of the U.S. Commodity Exchange Act and associated regulations. (Compl.

[Dkt. #1].) At the same time, the CFTC sought a preliminary injunction and the appointment of

a receiver to freeze and marshal what remained of investor assets under Defendants’ control.

Granting the CFTC’s motion, the Court appointed Robb Evans & Associates LLC as Receiver

“with the full powers of an equity receiver, over Defendants and their affiliates and subsidiaries.”

Prelim. Inj. [Dkt. #22] ¶ 41.)   By the terms of the Court’s order, the receivership encompassed:

                [A]ll the funds, properties, premises, accounts, businesses,
                partnerships, sole proprietorships and any other kinds of assets
                directly or indirectly owned, beneficially or otherwise, managed or
                controlled by the Defendants, whether held in their own names or
                in the names of others.

(Id. (defining “Receivership Assets”).) The Court directed the Receiver, among other things, to

assume full control over the Receivership Assets by removing Defendants and anyone acting on

their behalf from control and management of the Defendants’ affairs. (Id. ¶ 41.A.) Further, the

Court directed the Receiver to take custody of all Receivership Assets together with the other

funds and assets under the Defendants’ control. (Id. ¶ 41.B.)

         The Receiver has previously reported on its activities, including the results of its

extensive forensic accounting analysis of Defendants’ financial records, in the following reports

and associated exhibits:

            •   First Report of Activities for September 27, 2012 through January 17, 2013 on
                January 18, 2013 [Dkt. No. 51];



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            •   Receiver’s Modified Report of Activities for January 18, 2013 through November
                22, 2013 [Dkt. No. 217] (“Receiver’s Second Report”); and

            •   Affidavit of Brick Kane, Exhibit A to the Plaintiff’s Statement of Undisputed
                Material Facts [Dkt. No. 273] (“B. Kane Affidavit”).

Although a full recitation of those findings is beyond the scope of this Distribution Motion, the

Receiver relies on the analysis set forth in those reports to inform its recommendations here.

II.    FOLLOWING ITS INVESTIGATION, THE RECEIVER CONCLUDED THAT BATTOO
       OPERATED THE BC COMMON ENTERPRISE AS A “PONZI-TYPE” SCHEME.

       Based on its forensic accounting analysis of more than 15,000 pages of bank records,

cash reconciliation reports, and other financial records relating to the Defendants, the Receiver

determined that Battoo operated the BC Common Enterprise as “a Ponzi-type fraudulent

common enterprise.” (Receiver’s 2d Report [Dkt. #217] at 68; see also B. Kane Aff. ‘[Dkt.

#273] ¶ 5.) As part of his scheme, Battoo solicited investor funds either: (a) through offshore

managed accounts operated under the trade names Private International Wealth Management

(“PIWM”) and Private International Wealth Management – Insurance (“PIWM-I”) (collectively,

the “PIWM Portfolios”), or (b) directly into hedge funds formed in the British Virgin Islands

(“BVI”). Whatever point investor funds entered the BC Common Enterprise, Battoo caused such

funds to be extensively commingled with other investors’ funds, routinely transferring funds

among the various accounts that Battoo controlled. Exercising complete control over the

investing and financing activities of the funds, Battoo operated them “as one investment pool on

a commingled basis.” (Receiver’s 2d Report [Dkt. #217] at 68.)

       A.       Battoo exercised exclusive control over the PIWM Portfolios.

       As part of his scheme, Battoo encouraged some investors to place their money in the

PIWM Portfolios. In materials provided to investors, Battoo characterized the PIWM Portfolios

as “international wealth management concept[s] that [are] active in wealth structuring and active


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wealth management.” (B. Kane Decl. Ex. 9 [Dkt. #273-9] at 5 (emphasis in original).) Battoo

advertised PIWM as a “full service boutique international wealth management organization.”

Notwithstanding the jargon Battoo used, the PIWM Portfolios were not separate legal entities

existing anywhere but were instead the umbrella names Battoo gave to the activities performed

by various companies that he controlled.

       Battoo operated and controlled the PIWM Portfolios through a series of shell companies,

including the receivership entities comprising the BC Common Enterprise described in the

CFTC’s complaint. Specifically, BC Capital Group S.A. (“BCCG”) and BC Capital

International S.A. (“BCCG-I”) served as the “manager and managing company” of PIWM and

PIWM-I, respectively. (B. Kane Aff. ¶ 9; id. Ex. 9 at 4 (discussing BCCG) and Ex. 10 at 14

(discussing BCCG-I).) BC Capital Group Limited (Hong Kong) in turn served as the “appointed

financial investment advisor” to those managing companies. (Id. Ex. 9 [Dkt. 273-9] at 5.)

Together those entities purportedly were, in Battoo’s words, “responsible for the customization

and implementation (investment management) of the custom tailored PIWM portfolio strategies

for each mandate.” (Id. Ex. 9 [Dkt. #273-9] at 5.)

       While the ownership structure that Battoo touted in marketing materials to investors gave

the impression of a large sophisticated international organization, in truth, these entities were

mere shell companies with no permanent employees. Battoo himself was behind each of the

companies purportedly managing the PIWM Portfolios. Battoo wholly owned and controlled all

shares of BCCG and BCCG-I. (See id. Ex. 8 [Dkt. 273-8] at 14 (“All of the shares in the [BC

Capital] are held by Mr. Nikolai S. Battoo (‘Battoo’) pursuant to a Power of Attorney dated 4th

March 2010.”); Ex. 10 [Dkt. 273-10] at 14 (same with respect to BCCG-I).) Battoo also owned




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nearly all (90%) of BC Capital (Hong Kong) through another entity called Dreamlink Global

Holdings II S.A (itself wholly-owned by Battoo).3

        In addition to wholly owning the entities that controlled the PIWM Portfolios, Battoo

personally controlled and directed the funds in the portfolios. Again, in due diligence materials

provided to investors, he described himself as the “senior advisor” responsible for directing the

“active wealth management” services that the PIWM Portfolios purportedly offered investors.

(Id. Ex. 8 at 14 (“[BCCG] was formed primarily to manage [PIWM], a global wealth

management concept that provided wealth structuring and active wealth management under the

direction of, among others, Battoo, who was the organizations’ senior advisor.”); Id. Ex. 10 at 14

(same with respect to BCCG-I / PIWM-I).) In fact, he was the sole decision maker that

personally authorized and directed the movement of funds placed in the PIWM Portfolios.

        Battoo, through the BC Common Enterprise entities, contracted with Alliance Investment

Management Limited (“Alliance”), a Bahamian registered Class One Broker Dealer regulated by

the Securities Commission of The Bahamas, to serve as the custodian of the funds that investors

entrusted to the PIWM Portfolios. Rather than maintaining separate accounts for each investor,

Battoo caused all investor funds to be placed into one of two omnibus bank accounts held in

Alliance’s name at either First Caribbean International Bank or Royal Bank of Canada both

located in Nassau, Bahamas.

        Alliance maintained separate ledgers for each of the PIWM Portfolios. Many of the

PIWM investors were institutional investors in turn representing numerous individuals who were

the true beneficial owners of such investments. In addition to the investor ledgers, the Receiver




3
 Andrew Keuls, a long-time business associated of Battoo, owned the remaining 10% interest in
BC Capital (Hong Kong).
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also discovered that Alliance also maintained five other ledgers either in Battoo’s name or under

his control through which Battoo misappropriated investor funds for his own personal use.

Examining those ledgers, the Receiver concluded that Battoo stole approximately $46.7 million

of PIWM Portfolio investor funds for his own use. (Receiver’s 2d Report [Dkt. #217] at 30.)

       B.      Battoo also exclusively controlled the BVI Funds.

       In addition to the PIWM Portfolios, Battoo also controlled certain offshore hedge fund

(and numerous subfunds), formed in the British Virgin Islands (“BVI”), including FuturesOne

Diversified Fund; (b) FuturesOne Innovative Fund; (c) Anchor Hedge Fund; (d) Galaxy Fund;

and (e) Two Oceans Fund (collectively, the “BVI Funds”). Similar to his control of the PIWM

Portfolios, Battoo exercised control over the BVI Funds nominally through other entities,

including Defendant BC Capital Group International Limited (“BC Hong Kong”) that he either

directly or indirectly owned. (See B. Kane Aff. ¶¶51-55 (describing Battoo’s control of BVI

Funds).) Battoo maintained over 40 bank and investment accounts in the name of the BVI Funds

at EFG Private Bank (Channel Islands) Ltd. located in the Bailiwick of Guernsey. Based on its

review and analysis of EFG bank records, the Receiver reconstructed and prepared an accounting

of cash receipts and disbursements for the relevant EFG accounts for the period August 23, 2006

to September 13, 2012.

       C.      Exercising his control over the PIWM Portfolios and BVI Funds, Battoo
               regularly commingled funds among such accounts to conceal investment
               losses and otherwise perpetuate his scheme.

       The Receiver conducted an extensive forensic accounting of more than 120 bank and

investor portfolio accounts under the control of or affiliated with Defendants, including the

PIWM Portfolio ledgers held by Alliance and EFG accounts held under in the name of the BVI

Funds. (B. Kane Aff. [Dkt. #273] ¶ 5.c.) Based on that analysis, the Receiver concluded that



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Battoo had solicited at least $340 million from more than 800 investors: some investors directed

their investment into the PIWM Portfolios while other investors purported to invest directly in

the BVI Funds. (Id. ¶ 20.) With respect to investors who were nominally investing assets in the

PIWM Portfolios, Battoo caused those investors’ funds to be deposited in one of Alliance’s bank

accounts where such funds were commingled with other investor funds. Once commingled,

Battoo then transferred such funds either (a) to EFG accounts held in the BVI Funds’ name; (b)

to other third-party investments; or (c) to still other Battoo-controlled accounts for his personal

use. As to funds either directly invested in the BVI Funds or transferred to the BVI Funds from

the Alliance accounts, Battoo similarly transferred such funds to either (w) other accounts held in

the BVI Funds’ name at EFG, (x) third-party investments or hedge funds; (y) other investors on

behalf of different BVI Funds, or (z) to Battoo’s account at Folio Administrators Ltd. (“Folio”).

(See id. ¶¶ 23, 42, 64-66.)

       Despite sustaining substantial financial losses, including his own misappropriation of

investor funds for personal use, Battoo sought to perpetuate his scheme by misrepresenting the

investment performance of the PIWM Portfolios and BVI Funds to investors. (See, e.g.,

Receiver’s 2d Report [Dkt. #217] at 56-59 (regarding PIWM Portfolios); B. Kane Decl. ¶¶ 24-31

(regarding BVI Fund performance).) When investors sought to redeem their purportedly

profitable investments, Battoo would transfer funds among accounts as necessary to pay the

redemption. Thus, rather than paying redemptions from investment gains, Battoo was effectively

using funds from new investors to pay returns to earlier investors – one of the classic

characteristics of a traditional Ponzi scheme. Given such extensive commingling of investor

funds, the Receiver concludes that, even if possible, attempting to trace recovered assets to




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specific investors would ignore the reality of how Battoo actually operated the BC Common

Enterprise.

III.   THE RECEIVER FACED CHALLENGES TO ITS EFFORTS TO MARSHALL THE
       DEFENDANTS’ ASSETS FROM LIQUIDATORS APPOINTED IN FOREIGN JURISDICTIONS
       WHERE BATTOO ORGANIZED THE BC COMMON ENTERPRISE ENTITIES.

       As part of its efforts to assume control over the foreign BC Common Enterprise entities,

marshal their assets, and obtain relevant records, the Receiver sought official status in various

countries, including Hong Kong, Monaco, Anguilla, and the Bahamas. Specifically, to assume

control over BCCG and BCCG-I (collectively, the “BCCG Entities”), the Receiver had the

Bahamas Supreme Court appoint it, together with two insolvency practitioners from

PricewaterhouseCoopers Advisory (Bahamas) Ltd. (“PwC”), to serve as Joint Official

Liquidators (“JOLs”). The Receiver’s appointment as JOL with PwC was the result of a

compromise with various creditors of the BCCG Entities who had been simultaneously seeking

the appointment of another firm to serve as the official liquidator. Had another firm been

appointed, the Receiver may have faced further resistance to asserting control over the BCCG

Entities and their records.

       Around this time, the Receiver also learned that Battoo and his surrogates had sought to

place some of the entities he controlled, including the BVI Funds, into foreign liquidation

proceedings thereby interfering with the Receiver’s efforts to assume control over them. In the

case of the BVI Funds, local BVI insolvency professionals (the “BVI Liquidators”) were

appointed as liquidators subject to the supervision of the BVI Courts. Shortly thereafter, the BVI

Liquidators began to actively challenge the Receiver’s claims to assets held in the name of the

BVI Funds, including both the foreign assets held in the EFG accounts and assets that the

Receiver had already seized in the U.S. With respect to the EFG accounts, the Receiver (in its



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role as one of the JOLs) and the BVI Liquidators became competing parties in interest in an

interpleader action filed in Guernsey courts by EFG. While the analysis performed by the JOLs

in connection with that proceedings aided the Receiver’s efforts to untangle the BC Common

Enterprise’s financial condition, the Receiver was ultimately unsuccessful in that suit due in part

to mounting legal expenses that threatened to substantially erode the estate without clear

assurances of a successful outcome. Having been unsuccessful in the Guernsey Action, the

receivership estate also faced potentially substantial costs award in favor of the BVI Liquidators

permitted under Guernsey law that may have further depleted the receivership estate.

       In addition to the interpleader action in Guernsey, the BVI Liquidators had also taken an

active role in this case contending that they had a superior right to substantially all of the assets

held by the Receiver in this action. Ultimately, after years of contentious litigation eroding

investor assets, the BVI Liquidators and the Receiver ultimately agreed to settle all disputes

between them. Both the BVI Court and this Court approved the terms of the resulting settlement

agreement (the “Final Settlement Agreement”) without objection by any party in interest after

the Receiver provided wide-ranging notice to all interested parties and claimants. Under the

terms of the Final Settlement Agreement, the Receiver agreed to transfer $9 million of the

disputed assets in its possession to the BVI Liquidators. The Final Settlement Agreement also

provided that investors who had directly invested in the BVI Funds were precluded from

recovering from the receivership estate here unless the Receiver exercised its sole discretion

(subject always to the Court’s approval) to allow any such claims in the interests of equity.

       Having fully implemented the terms of the Final Settlement Agreement, the Receiver

now seeks approval of its plan of distribution and treatment of claims as set out below. The

Receiver anticipates the once the Court approves such plan, the Receiver will shortly thereafter



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be in position to wind-down the receivership, including distributing available receivership assets

to approved claimants.

                                     DISTRIBUTION PLAN

       In supervising an equitable receivership, the primary job of the district court is to ensure

that the proposed plan of distribution is fair and reasonable.” SEC v. Wealth Mgmt. LLC, 628

F.3d 323, 332 (7th Cir. 2010). As here, “where investors’ assets are commingled and the

recoverable assets in a receivership are insufficient to fully repay the investors, ‘equality is

equity.’” Id. at 333 (citing Cunningham v. Brown, 265 U.S. 1, 13 (1924).) Thus, courts have

routinely approved pro rata distribution plans under such circumstances. Id. (citing SEC v.

Credit Bancorp, Ltd., 290 F.3d 80, 88-90 (2d Cir. 2002); United States v. Durham, 86 F.3d 70,

72-73 (5th Cir. 1996); SEC v. Elliott, 953 F.2d 1560, 1569-70 (11th Cir. 1992); In re Reserve

Fund Secs. & Derivative Litig., 673 F. Supp. 2d 182, 195-96 (S.D. N.Y. 2009); SEC v. Byers,

637 F. Supp. 2d 166, 176-77 (S.D.N.Y. 2009)).

       Consistent with these principles of equity, the Receiver proposes to distribute an

estimated $13 million of available receivership assets pro rata to claimants with proposed

Allowed Claims (defined below) totaling approximately $165.8 million. Assuming no material

change to these estimates, such a distribution would afford claimants a recovery of

approximately 7.8% of their Allowed Claim.

       A.      The Receiver estimates that the receivership estate will have available assets
               of approximately $13 million to distribute to claimants.

       The Receiver has prepared a fund balance report summarizing the assets collected and the

corresponding fees and expenses incurred by the receivership estate from inception of the

receivership (September 27, 2012) through July 31, 2018, the most recent period for which

complete financial results are available. A copy of the Fund Balance Report is attached as

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Exhibit A. To date, the Receiver has collected assets totaling $30,083,837.31. Against such

assets, over the nearly six-year period of this case that involved multiple legal proceedings in

courts throughout the world, the receivership estate incurred administrative costs, including all

professional fees and expenses, totaling $7,904,081.74. Such amounts include fees and expenses

still subject to Court approval. In August 2018, the Receiver also funded the $9 million

settlement payment under the Final Settlement Agreement thereby resolving the BVI

Liquidators’ claims to substantially all of the assets of the receivership. (Notice of Withdrawal

[Dkt. #610].) Thus, the receivership estate presently holds net balances of $13,179,755.57 for

distribution to approved claimants and any additional administrative expenses incurred after July

31, 2018.

       B.      Having Reviewed 1100 Claims, the Receiver Has Identified Allowed Claims
               Totaling Approximately $165.5 Million.

       During late January and February 2016, the Receiver served notices that the Court had set

a claims bar date and directed persons who wished to assert a claim to do so in writing together

with documentary support. Where the Receiver had enough information to verify an investor’s

claims based on receivership records, the Receiver also included a proposed claim amount that it

would deem an “Allowed Claim” unless the investor objected; correspondingly where the

Receiver lacked sufficient information, the Receiver designated an Allowed Claim of $0.00,

while affording claimants the opportunity to submit a written claim otherwise with supporting

documentation for the Receiver to review. The Receiver served such notices on all persons for

whom the Receiver had contact information either by electronic mail (if available), Federal

Express, or U.S. Mail. The Receiver also posted the notice on its website and published the

Court-approved “Publication Notice” in the Wall Street Journal, International Edition. At the

Receiver’s request and to provide all claimants maximum opportunity to provide any necessary

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documentation or otherwise submit a claim, the Court extended the Claims Bar Date to July 29,

2016. (Order [Dkt. # 510].)

       By the extended deadline, excluding the BVI Liquidators’ now resolved claims, the

Receiver had identified, or claimants had otherwise submitted, a total of 1100 claims. The

Receiver has assigned each of those claims a unique claim identification number or “Claim ID.”

In the attached Exhibit B, the Receiver has scheduled all claims, listing the corresponding (a)

Claim ID, (b) claimant name, and (c) the amount the Receiver deemed to be an “Approved

Claim.” To preserve claimants’ confidentiality, the Receiver has redacted each claimant’s name

from the publicly filed version of this Distribution Motion and is simultaneously seeking leave to

file an unredacted copy of Exhibit B under seal.

        Certain investors’ claims listed in Exhibit B arose because of investments they made

through Maven Assurance Ltd. and Maven Life International Ltd. (collectively, the “Maven

Companies”) who in turn fed such investments into the PIWM Portfolios. Those claims are

denoted in Exhibit B by an asterisk next to the Allowed Claim amount (collectively, the “Maven

Investor Claims”). After the Maven Companies were placed into liquidation, Anguilla courts

appointed independent Cayman Island-based professionals (the “Maven Liquidators”) to

administer the Maven Companies’ joint liquidation. Rather than adopting competing views as to

the treatment of investor claims, as had been the case with the BVI Liquidators, the Receiver and

the Maven Liquidators generally agreed that a pro rata distribution to all Battoo’s victims was

appropriate. Accordingly, the Maven Liquidators and the Receiver have cooperatively verified

Maven Investor Claims, including communicating with investors regarding their claims through

jointly issued letters. The receivership estate has benefited significantly from such cooperation.

Among other things, the Maven Liquidators have been instrumental in leveraging their access to



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the Maven Companies’ books and records to more efficiently and accurately verify investor

claims. As part of its cooperation with the Maven Liquidators, the Receiver will pay the total

amount of allowed Maven Investor Claims to the Maven Liquidators to be finally administered

as part of that estate. The Maven Liquidators in turn have indicated that such investors will be

entitled to allowed claims in those proceedings of at least the amount such investors would have

here.

        In a separate motion filed concurrently, the Receiver seeks approval of procedures for

providing notice of this Distribution Motion to all claimants and establishing objection deadlines.

In conjunction with providing such notice, the Receiver proposes to provide each claimant with

their corresponding Claim ID to allow them to look-up the amount of their Allowed Claim as

determined by the Receiver. In doing so, claimants are provided a final opportunity to raise any

outstanding objections, by the set deadline, that they may believe are unresolved. Affording

such opportunity extends every accommodation to investors while nevertheless setting a

definitive deadline to enable the Receiver to wind-down the receivership and distribute payments

to investors. Indeed, claimants are best situated to evaluate whether the amount of the proposed

Allowed Claim and strength of any objection they may wish to assert warrants further litigation

expenses given the likely fractional recoveries.

        In the aggregate, the Receiver has proposed Approved Claims totaling $165,535,363.02.

In limited instances, the Receiver is continuing to work with a handful of claimants to finalize

their respective claim amounts. While the Receiver does not expect any further changes to the

amounts of Approved Claims listed in Exhibit B, should the Receiver subsequently determine

revisions to be warranted, the Receiver will file a supplemental schedule identifying any such

changes. Given the size of total Allowed Claims, the Receiver anticipates that such changes, if



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any, will have a negligible effect on total claim amounts. Therefore, the Receiver believes that

the estimated recoveries presented here provide a reliable, but not guaranteed, basis for assessing

a claimant’s likely recovery under the Receiver’s proposed plan of distribution.

       C.      The Receiver proposes to equitably distribute Available Assets on a pro rata
               basis to eligible investors in both the BVI Funds and PIWM Portfolios.

       The Receiver proposes to distribute net receivership assets, i.e. total assets less approved

administrative costs (“Available Assets”), on a pro rata basis. Because total Allowed Claims far

exceed Available Assets, under the Receiver’s proposed plan, each claimant will receive a

payment equal to the amount of their Allowed Claim multiplied by the ratio of Available Assets

divided by total Allowed Claims.

       Given the extensive commingling of assets and Battoo’s operation of the BC Common

Enterprise as “one investment pool on a commingled basis,” the Receiver proposes distributing

available receivership assets to investors in both the PIWM Portfolios and the BVI Funds.

Notwithstanding the foregoing and exercising its discretion under the terms of the Final

Settlement Agreement with the BVI Liquidators, the Receiver proposes to exclude claims

asserted by investors in the BVI Funds who the Receiver understands will likely receive

substantial distributions through the BVI liquidation proceedings. (See Ex. B Claim #782.)

       As described above, the Receiver estimates that there will be approximately $13 million

in Available Assets and total Allowed Claims of approximately $165.5 million. Therefore, the

Receiver estimates that claimants will receive a payment of just over 7.8% of their Allowed

Claim, i.e. $13 million of Available Assets divided by $165.5 million of total Allowed Claims.

Of course, the foregoing estimates are subject to change. For example, after resolving any

objections that may be filed in response to this Distribution Motion, final total Approved Claims

may be higher than the Receiver now anticipates, which would in turn cause individual

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claimants’ recovery percentage to decrease. Likewise, if the receivership estate incurs

unexpectedly higher administrative costs, such as from extended litigation of objections to this

Distribution Motion or over the treatment of any claims, there would be fewer Available Assets

correspondingly decreasing investor recoveries.

       D.      The Receiver anticipates distributing assets as soon as practical after the
               Court approves a final plan of distribution and treatment of claims.

       Other than a handful of administrative tasks, the Receiver expects that distributing

receivership assets to claimants will be the final substantive task in administering the

receivership estate. Accordingly, the Receiver is preparing to distribute receivership assets to

claimants as soon as practical following entry of an order approving a plan of distribution and

final treatment of claims. The Receiver expects to make transfers to claimants located outside of

the United States via wire transfer while paying claimants within the United States through a

cashier’s check. Again, the Receiver will pay the Maven Investor Claims directly to the Maven

Liquidators for final administration. To prepare for making the forgoing payments, the Receiver

will contact claimants with Allowed Claims to gather the necessary contact and transfer

information. At the time of distribution, the Receiver will hold back a small reserve based on its

then estimate of any remaining costs associated with closing the receivership estate.

       WHEREFORE, Robb Evans & Associates LLC as Receiver respectfully requests that

the Court enter an order: (a) approving the Receiver’s plan of distribution providing for

payments to claimants in an amount equal to each claimant’s Allowed Claim multiplied by the

ratio of Available Assets divided by the sum of all Allowed Claims; (b) approving on a final

basis the Allowed Claim amounts scheduled in Exhibit B of the Distribution Motion; (c)

authorizing and directing the Receiver to pay the approved amounts from receivership assets,

including paying amounts due on account of the Maven Investor Claims to the Maven Liquidator

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for final administration; (d) authorizing the Receiver to hold back a small reserve based on any

then anticipated costs to close the receivership estate, and (e) granting the Receiver such other

relief as the Court deems just and appropriate.

Dated: October 3, 2018                                 Respectfully submitted,

                                                       ROBB EVANS & ASSOCIATES LLC,
                                                       Receiver for Nikolai Simon Battoo, BC
                                                       Capital Group S.A., BC Capital Group
                                                       International Limited a/k/a BC Capital
                                                       Group Limited a/k/a BC Capital Group
                                                       Global, and BC Capital Group Holdings S.A.


                                                       By: /s/ Blair R. Zanzig
                                                                  (One of Its Attorneys)

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                               CERTIFICATE OF SERVICE

       I, Blair R. Zanzig, an attorney, hereby certify that, on the 3rd day of October 2018, I
caused a true and correct copy of the foregoing Receiver’s Motion to Approve Plan of
Distribution and Treatment of Claims (Corrected) to be served through the Court’s Electronic
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